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     In The United States Court of Federal Claims
                                              No. 06-587T

                                    (Filed: January 27, 2012)
                                           __________

  UNIONBANCAL CORPORATION
  & SUBSIDIARIES,

                                 Plaintiff,

                          v.

  THE UNITED STATES,

                                 Defendant.


                                               __________

                                                ORDER
                                               __________

       On January 13, 2012, defendant filed an unopposed motion for authorization of service of
a subpoena more than 100 miles from the location of trial. The court finds that defendant has
shown good cause and defendant’s motion is hereby GRANTED.

        Pursuant to RCFC 45(b)(2)(D), defendant is authorized to issue subpoenas compelling
the following proposed trial witnesses to travel more than 100 miles to testify at the trial in this
matter, which is scheduled to commence on March 12, 2012, in Washington, D.C.:

       1.      Michael Tschida, UnionBanCal;
       2.      Linda Landucci, UnionBanCal;
       3.      Barbara Kosnar, UnionBanCal;
       4.      James Nese, UnionBanCal;
       5.      Lance Markowitz, UnionBanCal;
       6.      Richard Clark, UnionBanCal;
       7.      Melissa Wilson, UnionBanCal;
       8.      Joni LeSage, UnionBanCal;
       9.      Wesley Tam, UnionBanCal;
       10.     Lynn Nguyen, UnionBanCal;
       11.     UnionBanCal record custodian(s);
       12.     Kerry King, BTMCC;
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13.   Michael Lewicki, BTMCC;
14.   Daisuke Takahashi, BTMCC;
15.   BTMCC record custodian(s);
16.   BTM record custodian(s);
17.   Roy Meilman, Chadbourne & Park;
18.   Chadbourne & Park record custodian(s);
19.   William Sweeney, City of Anaheim;
20.   City of Anaheim record custodian(s);
21.   Lindi Coit, Ogden;
22.   Ray Dombrowski, Ogden;
23.   Ted Lachowicz, Babcock & Brown;
24.   Babcock & Brown record custodian(s);
25.   Jurgen Mosner, Credit Suisse;
26.   Alfred Medioli, AIG Financial Products;
27.   Brendan Lynch, AIG Financial Products;
28.   AIG Financial Products record custodian(s);
29.   Mark Weitzel, Thelen Reid & Priest;
30.   Simpson Thatcher & Bartlett record custodian(s);
31.   Richard Ellsworth, Deloitte & Touche;
32.   Austin Godfrey, Deloitte & Touche;
33.   Steven Spain, Duke Engineering; and
34.   Duke Engineering record custodian(s).

IT IS SO ORDERED.




                                          s/ Francis M. Allegra
                                          Francis M. Allegra
                                          Judge




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